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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

LORAINE HEMMINGS,

      Plaintiff,

v.                                                     Case No: 8:16-cv-855-MSS-TBM

COMENITY BANK,

      Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

      Upon consideration of the Parties’ Stipulation of Voluntary Dismissal with

Prejudice, (Dkt. 20) and pursuant to Fed.R.Civ. P. 41, it is hereby

      ORDERED that this case is DISMISSED WITH PREJUDICE. Except as otherwise

agreed, each party shall bear its own attorneys’ fees and costs associated with this

matter. The Clerk is directed to terminate any pending motions and CLOSE this case.

      DONE and ORDERED at Tampa, Florida this 10th day of February, 2017.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
